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     6                           IJN IT ED STATE S D ISTR IC T CO IJR T
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     7
         UNITED STATES OF AM ERICA,                   )
     8                                                )
                            Plaintiff,                )
     9         v.                                     )
                                                      )          2:08-CR-00&&RLH (GW F)
    10 M ELISSA R.BEECROFT,                           )
                                                      )
    11                      Defendant.                )
    12                                   O RD ER O F FO RFEITU RE
    13       'fhis Courtfound on February 7,2012,thatG LISSA R.BEECRO FT shallpay a crim inal

    14 forfeitttremoneyjudm entofthefollowing:
    15 CotmtOne            ForfeitureAllegations              $107,000,000.00 in United States
                           O ne and Tw o                      Currency
    16
         CountTen          ForfeitureAllegations              $330,000.00 in United States
    17                     N ineteen and Tw enty              Currency
    18 CotmtEleven         f'orfeitureAllegations             $305,000.00inUnite,d States
                           Tw entp o ne and Twentp -
                                                   fw o       Currency
    19
         CountThirteen     ForfeitureAllegations              $325,000.00 in United States
    20                     Tw entp Five and Tw entp six       Currency

    21 CountFourteen       ForfeitureAllegations              $460,000.00in United States
                           Twentp seven and Twenty-Eight      Currency
    22

    23 totheUnited SàtesofAmerican,pursuanttoFed.R.Crim.P.32.20941)and(2);Title18,United
    24 States Code, Sections 1341, 1343, 1344, and l349; Title 18, U nited States Code, Section

    25 982(a)(2)(A);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,
    26 Section2461(c);andTitle21,UnitedSutesCode,Section 8534.
                                                             19.Docket#387.
        Case 2:08-cr-00064-JCM-EJY       Document 425       Filed 03/23/12    Page 2 of 2



 l       THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

2 States recoverfrom MELISSA R.BEECROFT a criminalforfeiture money judgmentofthe
3 following:

4 CountOne            ForfeitureAllegations               $107,000,000.00 in United States
                      One mld Tw o                        Currency
5
     CountTen         ForfeitureAllegations               $330,000.00 in United Sttes
6                    N ineteen and Twenty                 Currency

7 CountEleven         ForfeitureAllegations               $305,000.00 in United Sttes
                      Tw enty-o ne and Tw enty--
                                               fw o       Currency
8
     CountThirteen    ForfeitureAllegations               $325,000.00 in United SGtes
9                     Tw enty-Five and Tw entp six        Currency

10 CountFourteen      ForfeitureAllegations               $460,000.00 in United States
                      Twenty-seven and Twenty-Eight       Currency
11

12 pursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title l8,United SutesCode,Sections1341,
13 1343,1344,and 1349;Title 18,UnitedStatesCode,Section982(a)(2)(A)'
                                                                   ,Title18,UnitedStates
14 Code,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,United
15 StxtesCode,Section 8534.
                          1$.
16       DATED this 7 3 dayof             1:'- '         ,2012.
17                                                          .'     )
18                                   -    *9.69'C'F''/        -'
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